              Case 3:21-cv-00259-DCG-JES-JVB          Document 962-9     Filed 05/07/25    Page 1 of 2




                                                      Exhibit 9
                         Designations of Deposition Testimony of Chris Gober (July 12, 2023)


             Plaintiffs’ Affirmative Designations                          Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’      Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                              Objections
        8:7                    8:11
       9:17                    9:19
       12:24                   13:1
       14:1                    14:6
       24:5                   24:10
       24:25                  27:18
       30:23                   31:5
       32:16                  32:22
       34:11                  34:15
       38:21                  39:21
       40:15                   41:2
       42:2                   42:14
       44:19                  44:25
       45:12                  45:22
       48:3                   48:19
       49:8                   49:12
       50:11                   51:3
       52:10                  53:18
       55:8                   57:12
       67:1                   67:24
       69:1                    69:5
       70:3                    70:9
       73:3                    74:2
       74:5                   74:22
       77:4                    79:3
       81:8                   81:18

                                                          1
              Case 3:21-cv-00259-DCG-JES-JVB           Document 962-9   Filed 05/07/25    Page 2 of 2




              Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line          End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                 Objections                                            Objections
         84:7                   83:22
         87:9                   87:21
         97:6                   97:15
      102:17                   102:23
        103:2                   103:4
        107:2                   112:5
        116:5                  116:16
       118:10                   119:8
        120:9                  120:12
      120:20                   120:25
      121:15                   122:24
        125:7                  125:15
      126:22                    128:2
      132:18                   133:23
      138:13                   138:15
      139:16                   139:23
        140:8                   141:1
        142:6                  142:10
        143:6                  143:15
      145:13                    147:3
      176:24                    178:2
      191:15                    192:1
        195:6                  197:14
      236:10                   236:18
      253:23                   253:25
      255:17                   259:24




                                                           2
